Case 17-30560 Document 281 Filed in TXSB on 03/01/17 Page 1 of 13




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Case 17-30560 Document 281 Filed in TXSB on 03/01/17 Page 2 of 13
Case 17-30560 Document 281 Filed in TXSB on 03/01/17 Page 3 of 13
Case 17-30560 Document 281 Filed in TXSB on 03/01/17 Page 4 of 13
Case 17-30560 Document 281 Filed in TXSB on 03/01/17 Page 5 of 13
Case 17-30560 Document 281 Filed in TXSB on 03/01/17 Page 6 of 13
Case 17-30560 Document 281 Filed in TXSB on 03/01/17 Page 7 of 13
Case 17-30560 Document 281 Filed in TXSB on 03/01/17 Page 8 of 13
Case 17-30560 Document 281 Filed in TXSB on 03/01/17 Page 9 of 13
Case 17-30560 Document 281 Filed in TXSB on 03/01/17 Page 10 of 13
Case 17-30560 Document 281 Filed in TXSB on 03/01/17 Page 11 of 13
Case 17-30560 Document 281 Filed in TXSB on 03/01/17 Page 12 of 13
Case 17-30560 Document 281 Filed in TXSB on 03/01/17 Page 13 of 13
